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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 HELEN KRUKAS, et al.,

                        Plaintiffs,
                                                            Civil Action No. 18-1124 (BAH)
                        v.
                                                            Chief Judge Beryl A. Howell
 AARP, INC., et al.,

                        Defendants.


                                             ORDER

       Upon consideration of defendants’ Motion for Summary Judgment, ECF No. 95,

plaintiffs’ Motion for Class Certification, ECF No. 56, the memoranda submitted in support and

opposition, and the entire record herein, for the reasons stated in the accompanying

Memorandum Opinion issued contemporaneously with this Order, it is hereby

       ORDERED that defendants’ Motion for Summary Judgment, ECF No. 95, is

GRANTED; it is further

       ORDERED that this case is dismissed for lack of standing; it is further

       ORDERED that plaintiffs’ Motion for Class Certification, ECF No. 56, is DENIED AS

MOOT, in light of the dismissal of this case; and it is further

       ORDERED that the Clerk of the Court shall close this case.

       SO ORDERED.

       This is a final and appealable Order.

       Date: November 2, 2021


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                                                      BERYL A. HOWELL
                                                      Chief Judge
